Case: 5:22-cv-01454-CEH Doc#: 1-8 Filed: 08/15/22 1 of 4. PagelD #: 30

EXHIBIT E
Case: 5:22-cv-01454-CEH Doc #: 1-8 Filed: 08/15/22 2 of 4. PagelD #: 31

Pad 2021 Cimali - Order #1247 confirmed.

N

d Gma il Karl Forsell <fforcc@gmail.com>

Order #1247 confirmed

i message

FPGA Land <sales@{pga.tand> 9 June 2016 at 16:33
To: fret@ttml.net

FPGA Land ORDER WZ?

Thank you for your purchase!

Hi Carl, we're getting your order ready to be shipped. We will notify you when it
has been sent,

or Visit our store

Order summary

VCU1525 - Blockchain Edition (With Mods &

RAM} x 10 $36,000.00
18GB
Subtotal $36,000.00
Shipping $224.06
Total $36,224.06 USD
Coinbase commerce $36,224,06

Customer information

Shipping address Billing address

Carl Forsell Carl Forsell

Nonce Pte Ltd Nonce Pte Ltd

& St Martin’s Dr 8 St Martin's Dr

#03-21 St Marlin Residence #03-21 St Martin Residence
Singapore 258005 Singapore 258005
Singapore Singapore

Shipping method Payment method

hllps://mail.poogle.com/mailu'OHk=8208651d [Rav lew pt& search=all &e pernalisid=Unread £663 A LOV2RIZMIORS5925.5426 simpl=msg LSA | GVARIZIWGISIZIF IZ 12
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PRO? | Gmail - Order #1247 confined

Worldwide Coinbase commerce — $36,224.06 “

li you Have any questions, reply te this emait or contact us at sales@{pga.land

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Case: 5:22-cv-01454-CEH Doc #: 1-8 Filed: 08/15/22 4 of 4. PagelD #: 33

HAG Ginail ~ You just sent 60,46 134625 EMT to Ocd Gel 8702383 A 4 78 licG4CdddG 10227573428

dl Grnail Karl Forsell <Horec @gmali.com>

You just sent 60.46133625 ETH to
Oxd0ef87 0d238aA4B78cEc64Cdd0610B2275734B28

1 message
Coinbase <no-reply@colnbase,com>
To: frsl@{tml.net

9 June 2018 at 16:32

You just sent
60.46 132625 ETH ($36,225.11 USD)

Congratulations! You have successfully sent 66,46 133625 ETH ta
Oxd0e(870d236aA487 BcEc64Cdd06 1082275734B28, You can view transaction details in
your Coinbase account. Te facilitale this transaction, you paid 0.000105 ETH ($0.06 USD)

in network fees,

This withdrawal is being sent to an address ("Oxd0e(87Gd238aA4 B78cEc64Cdd061
062275734828") thal you haven't previously used.

bere coumenlicd be | ye your find : yee (2 beer Aeon Chay Be

Utes eed yelle elds of

| wish to disable sign-in for my Coinbase account

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